        Case 1:15-cv-00987-MCW Document 11 Filed 12/30/15 Page 1 of 1


                                    OR!$E[\|AI
         lJntbe @nfte! Ststeg @ourt ot:felerst @laims
                                          No. l5-987C
                                   @iled: December 30, 2015)
*************************                       :|
                                                                                FILED
                                                                              DEC 3   0   20t5
GERALD MICHAEL RISCOE, et al.
                                                                             U.S. COURT OF
                                                                           FEDERAL CI-AIMS
               Plaintiffs,

               v,

THE UNITED STATES,

               Defendant.

* * * * * * * * ** ** ** ***********:|



                                             ORDER


         On December 28,2015, Plaintiffs filed a "motion to withdraw claim," stating that they
"respectfully request permission to withdraw this claim effective immediately upon delivery," as
they realized thar they were "supposed to file [their] claim with the proper federal agency first,"
pursuant to 28 U.S.C. $ 2675. The Court construes Plaintiffs' motion as a request for dismissal.
Plaintiffs' motion is GRANTED. The Clerk is directed to dismiss this    action.                  \
